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  1  Xr~~,'T~R I3I~C;F,R~A                                                       x~' `~
     Attorn~ey General of California                                           ~'.;
 ? ' JACQUELINE.DALE                                                           ~~         N
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 3 D VIU A`EI~IGA"TC~R                                                       ~1%.~"~, -v
     Deprrly Attorney General                                                   z~~ ~
 4 California State Bar No. 172690                                              ''~~, ~?
            455 holden Gate Ave., Suite 110Q0                                      '~~~
            San Francisco, California 941Q~                                        -.,~_~ ~
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 5 1
            Tel:(415)703-29 2                                                ~        ~'
 b ~        Fax: ~~1_S) 703-580
            En1ai : Davicl.Tligator rr daj.ca.gov                       ~~,~D              K1'~G~   )~~e✓
 7                                                                             ~r~
 ~.    Attorneys for the People ofthe State Uf California
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10 '                                  I1~~TT~T~ STATES DISTRICT CaURT
I~                        FOR THE CEI`JTR.AL DISTR.TCT OF C~ILIFORI~TIA
12                                         ~OUTI~RIvT DIVISION
13     UNITED STATES OF ~M~R.IGA ex                   Na SA_GU 17-QO~bO 7LS(I~ES~}
       r~e7. [~~1~iI3E~ SEAL]:
1 ~-                                                  NOTICE C?F ELECTION F3Y TIC
                    I~l~in~tiff(s),                   PEOPLE ~F THE STATE OF
15                                                    CALIF~RZVI1~ TO ~~:CLINE
                            ~.~.                      INTF~Ri~'EN'I'IQN AND STIPULATIQN
1~                                                    RE UNSEALING OF CASE
       j~Ti''"v']E~~R ~FAL],
17                                                   [:FILED ~:Ji~1~ER SEAL PURSIJAI~T TO
                    Defendant(s).                     THE FALSE CLAIViS ACT,~l. I1.S.C.
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        1       VIER I3ECERRA
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            JACQUELINr I)f1LE
            Supe.~=visin~ I7e}~uty Attorney General
     3      ll~1VID ALLIGATOR
            IJeput;• flttai-ney CUeneral
            California Stag Bar No. 17?69Q
                     x-55 Golden Gaffe Ave., quite :l 1000
    5                San Francisco, California 941(?2
                    Tel: (41.5 703-982
    b              ray: ~~-~ ~ ~n~-s~so
                   En1~i : Davitl.Elgator~doj.ca,gav
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    8       Attoa-neys for the Feople a~the State of Califot-nia
    9
10                                    UNITED S`I~AT~S DISTFtIC~I~ C`.~UR`l'
11                            FOR `~'HE CENTRAL DISTRICT OF CALIFORI~ITA
12                                            SOUTHE~T I)IVISION~
l~           UI~IITFD STATES OF AMERICA,                     Na. SACV 17-004b0 JLS(I~.FSh}
            AI`ID `T'HE PEOPLE C}~ THE STATE
14          OF C~ILIFQRI~TIA, ex r•el. PAUL                  NOTICE Q~ ELECTION ~Y THE
            I~ALTD~,                                         PEOPLE OF THE,STATE OF
IS                                                           CAL~IFaRNIA TO DECLTI'~~
                        Plaintiffs,                          LI~TTERVENT2ON A'VD STIPULAT70N
16                                                           1ZE UNSEALING OF CASE
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            I~HS COi'~1SLJLTI"I~iG, INC,,                    ~~~~-~E373~(b)(2)
                                                              ~~~1`1~   l..J 1.'~~F.~i~ ~~.f'5.~1 ~V ~~ll C11 'f rl

                                                                      F~iLS~ CLAIMS ACT,3l. U.S,C.
                                                                               AI~1I~ (3)]
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19                                                           [LODGED CONC URREI~TTLY UTtiiDER
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 Case 8:17-cv-00460-JLS-KES Document 13 Filed 03/22/18 Page 3 of 5 Page ID #:69




     1           Pursrl~nt to tl~e C~lifaz~nia Fare Claii~~s ^,ct, Cpl. Crov. C ade ~ 1?~5~(c)~~1, tl,
     7    Peo~~le ofthe Sate o~Calif~rni~~ ("C~al~ii~c~inia"} rlotife~ t~~c Court of its decision not to
     3    intervene in the above-captioned action ("this action"). On Novem~e~- 15, 2017,
 4 , pursuant to tl~e ~~deral I~alse Claims Act, 31 U.S.G. ~ 373Q~b)(~}($), the United States of
     S j America("United States", and together with C~alifs~~-nia, t11e "Governments") pretriQusly
     b 'i filed its Notice ofElectian tc~ Decline Intervention.
 7               ~lthou~h the Cxnveinnlen~s decline to int~ivene, we respectfi~lly refer the Court to
          31 L1.S.C. § 3730(b}(~ ), which allows the qui tam plaintiffPaul Dalida (the "relator") to
 9        mzintain this actian ire tl~e name ofthe Uz~.ite~3 States, provided, ho~iever, that the "action
10        ~tiay b~ c~isinissed only if the caut-~ and the Attc~~~ney Cxe~letal ~;i~~e written consent to the
ll        dismissal and their reasons for consenting." Id. The United States Count of Appeals foi~
12       the Ninth Circuit has held that, notti~rithstanding this Ian~uage, t]~e United Sfiates has the
13       right only to a bearing ~~vhen it objects Yo ~ sett]emen~ or dismissal ofthe action., LT,S. ~~
14       t-eL Green v. Northz~o~?Coz-~., S9 ~.3d 953,95~ (9th Cr, J 995); J.S. ex rel.
15       Killin~~worth v. Nortl~rap Corp., ~5 F.3d 715,723-25 ('nth C r. 1994). Tl~eref~re, the
16       Governments rec~u~s~ that,should either ~l~e relator oi- the ciefendan~ ~rop~se that this
17       action lie d~ism~ssEd, settl~c~, ar otherwise discoz~lin~~~d, the parties provide the
18       Gc~ve~-nment~ ~~ith notice ofthe same, and tl~e Court provide the U~vernments ti~ith an
19       opportunity to be heard before ruling or granting its approval.
~p              Furtherzi~ot~e, ptirs~~ant to 31 U.S.C. § 3730{c)(3) and Cpl. Gov. Code
~~       ~ 1265~(f}(1}, the Governments rec~ues~ that all pleadings filed in ~1us action be served
22       upon the Gc~vernmenrs; fh~ ~over~ments also ~-ec~uest that orders iss~.ted by the Court in.
23       phis a~fi~ian be gent to tl~.e C~ov~rni~ents' cr~unseL The ~Qve~~nment~ reserve their right to
24       order any deposition. transcripts, to nteitiren~ in this action, for load caL~se, a1 a l~teY-
~~       date, and. to seek the dismissal ~ftlus action ar any claims therein. 'I`he governments
Zb       also request t11at they be served. ~vitla all notices of appeal in this actio~7,
~7              Finally, Calif~rni~, the United States,. and the rely-tor stipLilate that the relata~r's
28       Colnpl~int, #leis I~Tot ce, the I'~iotice of Election by the United States to Decline
                                                        ~ ~_
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      1  Interventions and the accompanying prn~osed Order should ~e unsealed. California, the
      2 'United States, and tie relator further stipulate that all other papers filed or lodged to date
      3 in this action should remain pern-ianently under seal because such papers were provided
      ~        by law to the Court alone for the sole purpose of discussing the content and extent oft1~E
      5        Governments' investigation, and, thereby, evaluating whether the seal and time for
     6 'making an election to intervene shau~d be extended.
     7 ~             A proposed order is lodged concuzxently herewith.
   $                                              Respectfully submitted,
  9 ~ Dated: March ~2018                          XAVIER BECERRA
                                                  Attom~e~y~General of California
  1Q ~                                            JACQUELINE DALE
                                                  Supervising Deput Attorney General
 11
 12
 13 ~j                                            D       A.ELIGATOR
     ~                                            Deputy Attorney General
 ~~ ,                                             Atforneys for the PeapXe ofthe State of California
 IS
 ~6            Dated: March(~ 2018               Ni~OLA T. HANNA
                                                 United States Attomey
 1~                                              DOROTHY A. SCHUUTEI*T
                                                 Assistant United States Attorney
 ~g                                              Chief Civic L7ivision
                                                 DAVID K. BA~.RRETT
 19                                              Assistant United States Attorney
                                                 Chief, Civil Fraud Sectir~n
 2Q
 21                                                ~k
 22                                              KENT A.~A.WA
                                                 Assistant United States Attorney
 ~~                                              Attorneys fox the `7nited Sfates of America

2~         Dated:~axchj
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                            DECLARATION OI+ SERVICE BY E-MAIL

   Case Name: UNDER SEAL v. UNDCR SEAL
   Case Na.:  SACV 17-0046Q JLS(KE5x)

   I declare:

  I am employed in the Office of the Attorney General, which is the office of a member of the
  California State Bar, at which member's direction this service is made. I am 18 years of age or
  alder acid not a party to this matter. I am familiar with the business practice at the Office of the
  At#orney General for collection and processing of correspondence for mailing with the United
  States Postal Service. In accordance with that practice, correspondence placed in the internal
  mail collection system at the Office of the Attorney General is deposited with the United States
  Postal. Service with postage thereon fully prepaid that same day in the ordinary course of
  business.

  On March 22. 2018, 1 served the attached NOTICE OF ELECTION BY THE PEOPLE OF
  THE STATE OF CALIFORNIA TO DECLINE INTERVENTION AND STIPULATION
  RE UNSEALING OF THE CASE try transmitting a true copy via electronic mail.


   Joseph. M. Tully                                  Katherine M. Holiday
   Tully &Weiss                                      8112 West Bluemound Rd,#101.
   713 Main Street                                   Wauwatosa, WI 53213
   Martinez, CA 94553                                kl_~olida ~ a'~~nahailvla~~,r.cori~
        h ~ `osc. l~lull~c~~m

   Kent Kawakami
   Ofc US Attorney
   3Q0 N L.os Angeles 5t Ste 7516
   Los Angeles, CA 90012
   kent.k~l«~akamiC~?~usdoj.;ov




  I declare under penally of perjury under the laws of the State of California the foregoing is true
  and correct and that this declaration was exe-cuted on March 22, 2018, at San Francisco,
  California.

                    M.San                                  ~,.
                   Declarant                                             Signature

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